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 8                                UNITED STATES DISTRICT COURT
 9                             SOUTHERN DISTRICT OF CALIFORNIA
10                                    (HON. JEFFREY T. MILLER)
11
       UNITED STATES OF AMERICA,                )                Case No. 09CR0879 JM
12                                              )
                   Plaintiff,                   )
13                                              )
             vs.                                )                ORDER GRANTING JOINT
14                                              )                MOTI O N TO CONTINUE
       AGUSTIN JAIME LOPEZ-CEBALLO, et al       )                MOTION HEARING/TRIAL
15                                              )                SETTING
                   Defendant.                   )                [Docket No. 30]
16     ________________________________________ )
17          Upon the Joint Motion of all counsel [Docket No. 30] IT IS HEREBY ORDERED that the
18   Motion Hearing/Trial Setting hearing currently scheduled for June 12, 2009 shall be continued until
19   September 11, 2009 at 1:30 p.m. as to all Defendants.
20   DATED: June 10, 2009
21
                                                    Hon. Jeffrey T. Miller
22                                                  United States District Judge
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                                                  Order                                   Page 1 of 1
